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 9
                                 UNITED STATES DISTRICT COURT
10
                               NORTHERN DISTRICT OF CALIFORNIA
11                                  SAN FRANCISCO DIVISION

12
     IN RE TRANSPACIFIC PASSENGER                     Civil Case No. 3:07-cv-05634-CRB
13
     AIR TRANSPORTATION
14   ANTITRUST LITIGATION                             MDL No. 1913
15   This Document Relates To:                        [PROPOSED] FINAL JUDGMENT OF
16                                                    DISMISSAL WITH PREJUDICE AS TO
     ALL ACTIONS                                      DEFENDANT EVA AIRWAYS
17                                                    CORPORATION
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     [Proposed] Final Judgment of Dismissal With Prejudice As to Defendant EVA Airways Corporation
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 1           This matter has come before the Court to determine whether there is any just reason for
 2   delay of the entry of this final judgment with respect to the class action settlement with Defendant
 3   EVA Airways Corporation (“EVA”) (sometimes referred to herein as “Defendant”). The Court,
 4   having reviewed Plaintiffs’ Motion for Final Approval of Settlements with Defendants Philippine
 5   Airlines, Inc. (“PAL”), Air New Zealand Limited (“ANZ”), China Airlines, Ltd. (“CAL”), and
 6   EVA (“Final Approval Motion”) and Plaintiffs’ Motion for an Award of Attorneys’ Fees,
 7   Reimbursement of Expenses, and Class Representative Incentive Awards (ECF No. 1227-29),
 8   having held argument on said motions on September 14, 2018, and finding no just reason for
 9   delay, hereby directs entry of Judgment which shall constitute a final adjudication of this case on
10   the merits as to members of the Settlement Class and EVA pursuant to the Settlement Agreement
11   Between Plaintiffs and EVA (“Settlement Agreement”) (see ECF No. 1129-2):
12   IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:
13           1.      The Court has jurisdiction over the subject matter of this litigation, and all actions
14   within this litigation (collectively, “Action”) and over the parties to the Settlement Agreement,
15   including all members of the Settlement Class and Defendant.
16           2.      The following class is certified for settlement purposes only, pursuant to Federal
17   Rule of Civil Procedure (“Rule”) 23:
18           EVA SETTLEMENT CLASS: All persons and entities that purchased passenger
             air transportation originating in the United States that included at least one flight
19           segment to Asia or Oceania, from Defendants, or any predecessor, subsidiary, or
20           affiliate thereof, at any time between January 1, 2000 and December 1, 2016.
             Excluded from the class are governmental entities, Defendants, former Defendants
21           in the Action, any parent, subsidiary or affiliate thereof, and Defendants’ officers,
             directors, employees and immediate families.
22
23           3.      This settlement class in the Settlement Agreement shall be referred to herein as the

24   “Settlement Class.”

25           4.      For purposes of this Order, the terms “Defendants,” “Effective Date,” “Released

26   Claims,” “Releasing Parties,” and “Released Parties” shall be defined as set forth in the Settlement

27   Agreement.

28           5.      The Court finds the prerequisites to a class action under Rule 23(a) have been


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 1   satisfied for settlement purposes by each of the Settlement Classes in that:
 2                   a.      There are hundreds of thousands of putative members of the Settlement
 3                           Class, making joinder of all members impracticable;
 4                   b.      There are questions of fact and law that are common to all members of the
 5                           Settlement Class;
 6                   c.      The claims of the Class Representatives are typical of those of the absent
 7                           members of the Settlement Class; and
 8                   d.      Plaintiffs Meor Adlin, Franklin Ajaye, Andrew Barton, Rachel Diller,
 9                           Scott Fredrick, David Kuo, Dickson Leung, Brendan Maloof, Donald
10                           Wortman, Harley Oda, Roy Onomura, Shinsuke Kobayashi, Patricia Lee,
11                           Nancy Kajiyama, Della Ewing Chow, James Kawaguchi, and Sharon
12                           Christian (“Class Representatives”) have and will fairly and adequately
13                           protect the interests of the absent members of the Settlement Class and
14                           have retained counsel experienced in complex antitrust class action
15                           litigation who have and will continue to adequately advance the interests
16                           of the Settlement Class.
17           6.      The Court finds that this Action may be maintained as a class action under Rule
18   23(b)(3) for settlement because: (i) questions of fact and law common to the members of the
19   Settlement Class predominate over any questions affecting only the claims of individual
20   members; and (ii) a class action is superior to other available methods for the fair and efficient
21   adjudication of this controversy.
22           7.      Pursuant to Rule 23(g), the Court hereby confirms that Cotchett, Pitre &
23   McCarthy, LLP and Hausfeld LLP are appointed as Settlement Class Counsel and that Plaintiffs
24   Meor Adlin, Franklin Ajaye, Andrew Barton, Rachel Diller, Scott Fredrick, David Kuo, Dickson
25   Leung, Brendan Maloof, Donald Wortman, Harley Oda, Roy Onomura, Shinsuke Kobayashi,
26   Patricia Lee, Nancy Kajiyama, Della Ewing Chow, James Kawaguchi, and Sharon Christian are
27   appointed to serve as Class Representatives on behalf of the Settlement Class.
28           8.      The person identified in Exhibit A to this Final Judgment has timely and validly

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 1   requested exclusion from the Settlement Classes and, therefore, is excluded. Such person is not
 2   included in or bound by this final judgment.
 3           9.      Upon the Effective Date, all Releasing Parties shall be permanently barred and
 4   enjoined from instituting, commencing, prosecuting or asserting any Released Claim against any
 5   of the Released Parties.
 6           10.     The Court has finally approved a total of four settlements between the Class
 7   Representatives and PAL, ANZ, CAL, and EVA (collectively, “Settlement Agreements”) in the
 8   total amount of $50,650,000.
 9           11.     The award of attorneys’ fees, reimbursement of litigation expenses, and incentive
10   payment to a Class Representative granted by the Court in connection with the PAL, ANZ, CAL,
11   and EVA settlements shall be allocated pro-rata to each of the Settlement Agreements.
12           12.     This Court hereby dismisses on the merits and with prejudice the Action against
13   Defendant, with each party to bear its own costs and attorneys’ fees.
14           13.     Without affecting the finality of this final judgment in any way, this Court hereby
15   retains continuing jurisdiction over: (a) implementation of the terms of the Settlement Agreement
16   and any distribution to members of the Settlement Class pursuant to further orders of this Court;
17   (b) hearing and ruling on any matters relating to the plan of allocation of the settlement proceeds;
18   and (c) all parties to the Action and Releasing Parties, for the purpose of enforcing and
19   administering the Settlement Agreement and the mutual releases and other documents
20   contemplated by, or executed in connection with the Settlement Agreement.
21
22   IT IS SO ORDERED.
23
24
     Dated: ____________________
             October 11, 2018                         ________________________________________
25                                                    THE HONORABLE CHARLES R. BREYER
26                                                    UNITED STATES DISTRICT JUDGE

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      [Proposed] Final Judgment of Dismissal With Prejudice As to Defendant EVA Airways Corporation
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           EXHIBIT A
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